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                         EXHIBIT B
Case 5:19-cv-00898-GW-SP Document 1-2 Filed 05/13/19 Page 2 of 4 Page ID #:44



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  11 Additional Attorneys on Signature Page

  12                        UNITED STATES DISTRICT COURT
  13                       CENTRAL DISTRICT OF CALIFORNIA
  14 LORI MYERS, ALLISON CULLEN,              Case No.:
  15 AND ALEXANDER MOUGANIS,
       On Behalf of Themselves and All        DECLARATION OF PATRICIA N.
  16 Others Similarly Situated,               SYVERSON PURSUANT TO
  17                Plaintiffs,               CALIFORNIA CIVIL CODE §1780(d)
             v.
  18

  19 NESTLE PURINA PETCARE
       COMPANY, a Missouri company,
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  21                 Defendant.
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   1
             I, Patricia N. Syverson, declare as follows:
   2
             1.     I am an attorney duly licensed to practice before all of the courts of the
   3
       State of California. I am a shareholder of the law firm of Bonnett, Fairbourn,
   4
       Friedman & Balint, P.C., the counsel of record for Plaintiffs in the above-entitled
   5
       action.
   6
             2.     Defendant Nestle Purina PetCare Company has done and is doing
   7
       business in the Central District of California. Such business includes the distributing,
   8
       marketing, labeling, packaging and sale of Fancy Feast tuna cat food products.
   9
       Furthermore, Plaintiff Myers purchased the Fancy Feast Classic Pate Ocean
  10
       Whitefish & Tuna product in this District.
  11
             3.     I declare under penalty of perjury under the laws of the State of
  12
       California that the foregoing is true and correct.
  13
       Executed this 13th day of May 2019, at San Diego, California.
  14
  15
       Dated: May 13, 2019              BONNETT, FAIRBOURN, FRIEDMAN
  16                                     & BALINT, P.C.
  17                                     /s/Patricia N. Syverson
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